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11

12                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF CALIFORNIA
13
     ALI ZAIDI, Individually and on Behalf of          Case No.:
14   All Others Similarly Situated,
                                                       CLASS ACTION COMPLAINT
15                         Plaintiff,
                                                       COMPLAINT FOR VIOLATION OF THE
16   vs.                                               SECURITIES EXCHANGE ACT OF 1934
17   ADAMAS PHARMACEUTICALS, INC.,                     DEMAND FOR JURY TRIAL
     GREGORY T. WENT, AND ALFRED G.
18   MERRIWEATHER
19                         Defendants.
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 1          Plaintiff Ali Zaidi (“Plaintiff”), by and through his attorneys, alleges the following upon
 2   information and belief, except as to those allegations concerning Plaintiff, which are alleged upon
 3   personal knowledge. Plaintiff’s information and belief is based upon, among other things, counsel’s
 4   investigation, which includes without limitation a review and analysis of: (a) regulatory filings made
 5   by Adamas Pharmaceuticals, Inc. (“Adamas” or the “Company”) with the United States Securities
 6   and Exchange Commission (“SEC”); (b) press releases and media reports issued by and
 7   disseminated by Adamas; and (c) other publicly available information concerning Adamas.
 8                                     NATURE OF THE ACTION
 9          1.     This is a securities class action on behalf of all purchasers of the publicly-traded
10   securities of Adamas between August 8, 2017 and September 30, 2019, inclusive (the “Class
11   Period”), alleging violations of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934
12   (the “Exchange Act”).
13          2.     Adamas is a commercial stage pharmaceutical company that specializes in developing
14   drug treatment therapies for chronic neurologic disorders.
15          3.     Adamas’s primary product is GOCOVRI, an extended-release formulation of
16   amantadine (formerly referred to as ADS-5102), which has been approved by the U.S. Food and
17   Drug Administration for the treatment of levodopa-induced dyskinesia.
18          4.     Amantadine is available as an inexpensive generic drug in multiple instant-release
19   formulations and is approved for the treatment of dyskinesia.
20          5.     After the market closed on March 4, 2019, during Adamas’s Q4 2018 conference call
21   with investors, Adamas walked back its previous prescription growth estimates for GOCOVRI,
22   warned of a continued slow-down in GOCOVRI prescriptions, and refused to make further
23   predictions about GOCOVRI’s ability to achieve a sizeable market share.
24          6.     On this news, Adamas’s stock fell $3.99 per share, or 32.84%, to close at $8.16 per
25   share on March 5, 2019.
26          7.     On September 30, 2019, Bank of America/Merrill Lynch analyst Tazeen Ahmad
27   lowered its rating for Adamas shares to “Underperform” noting “existing overhangs for ADMS: (1)
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 1   Gocovri coverage: a number of national formularies exclude Gocovri. We expect reimbursement
 2   hurdles in MSWI space especially with generic Ampyra launch.”
 3          8.     On this news, Adamas shares fell a further 42.83% from $7.05 per share on September
 4   26 to $4.03 by October 3, 2019.
 5          9.     Throughout the Class Period, Defendants made materially false and misleading
 6   statements, and failed to disclose material adverse facts about the Company’s business, operations,
 7   and prospects.
 8          10.    Specifically, Defendants made materially false and misleading statements about: (1)
 9   managed care’s acceptance of GOCOVRI; (2) the breadth of insurer coverage for GOCOVRI
10   prescriptions; and (3) the impact of the Company’s commercialization efforts.
11          11.    In addition, Defendants failed to disclose: (1) that health insurers were excluding
12   GOCOVRI from their prescription formularies or requiring patients to use “step therapy” - i.e.,
13   making patients try immediate-release amantadine prior to covering GOCOVRI; (2) that the rapid
14   increase in physicians prescribing GOCOVRI during the Class Period was not due to its efficacy;
15   and (3) that, as a result of the foregoing, the Company’s financial statements and Defendants’
16   statements about Adamas’s business, operations, and prospects, were materially false and
17   misleading at all relevant times.
18          12.    As a result of Defendants’ wrongful acts and omissions, and the precipitous decline
19   in the market value of the Company’s securities, Plaintiff and other Class members have suffered
20   significant losses and damages.
21                                       JURISDICTION AND VENUE
22          13.       The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange Act
23   (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17 C.F.R. §
24   240.10b-5).
25          14.    This Court has jurisdiction over the subject matter of this action pursuant to 28 U.S.C.
26   § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).
27          15.       Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section
28   27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud
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 1   or the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,
 2   including the dissemination of materially false and/or misleading information, occurred in
 3   substantial part in this Judicial District. In addition, the Company maintains offices in this Judicial
 4   District.
 5           16.   In connection with the acts, transactions, and conduct alleged herein, Defendants
 6   directly and indirectly used the means and instrumentalities of interstate commerce, including the
 7   United States mail, interstate telephone communications, and the facilities of a national securities
 8   exchange.
 9                                                PARTIES
10           17.   Plaintiff Ali Zaidi, as set forth in the accompanying certification, incorporated by
11   reference herein, purchased Adamas securities during the Class Period, and suffered damages as a
12   result of the federal securities law violations and false and misleading statements and material
13   omissions alleged herein.
14           18.   Defendant Adamas is incorporated in Delaware and maintains offices in Emeryville,
15   California. Adamas’s shares trade on the NASDAQ Stock Market (“NASDAQ”) under the symbol
16   “ADMS.” The Company’s Annual Report filed with the SEC on March 4, 2019 states that
17   27,448,990 shares of Adamas were issued and outstanding as of February 24, 2019.
18           19.   Defendant Gregory T. Went (“Went”), the Chief Executive Officer (“CEO”) of
19   Adamas and the chairman of its Board of Directors since its inception, stepped down during the
20   Class Period on September 15, 2019.
21           20.   Defendant Alfred G. Merriweather (“Merriweather”) is, and was at all relevant times,
22   the Chief Financial Officer (“CFO”) of Adamas.
23           21.   Defendants Went and Merriweather are collectively referred to hereinafter as the
24   “Individual Defendants.” Adamas and the Individual Defendants are collectively referred to herein
25   as “Defendants.”
26           22.   Because of the Individual Defendants’ executive positions, they each had access to
27   the undisclosed adverse information about Adamas’s business, operations, operational trends,
28   controls, markets, and present and future business prospects via internal corporate documents,
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 1   conversations and connections with other corporate officers and employees, attendance at
 2   management and Board of Directors meetings and committees thereof.
 3          23.     It is appropriate to treat Defendants as a group for pleading purposes and to presume
 4   that the false, misleading and incomplete information conveyed in the Company’s public filings,
 5   press releases and other publications, as alleged herein, are the collective actions of the narrowly
 6   defined group of Defendants identified above. Each of the Individual Defendants was directly
 7   involved in the management and day-to-day operations of the Company at the highest levels and
 8   was privy to confidential proprietary information concerning the Company and its business,
 9   operations, controls, growth, products and present and future business prospects as alleged herein.
10   In addition, the Individual Defendants were involved in drafting, producing, reviewing and/or
11   disseminating the false and misleading statements and information alleged herein, were aware of,
12   or recklessly disregarded, the false and misleading statements being issued regarding the Company,
13   and approved or ratified these statements in violation of the federal securities laws.
14          24.     As officers and controlling persons of a publicly-held company whose shares are
15   registered with the SEC pursuant to the Exchange Act and trade on the NASDAQ, which is governed
16   by the provisions of the federal securities laws, the Individual Defendants each had a duty to
17   promptly disseminate accurate and truthful information with respect to the Company’s operations,
18   business, products, markets, management, and present and future business prospects. In addition,
19   the Individual Defendants each had a duty to correct any previously-issued statements that had
20   become materially misleading or untrue, so that the market price of the Company’s publicly-traded
21   shares would be based upon truthful and accurate information. Defendants’ false and misleading
22   misrepresentations and omissions during the Class Period violated these specific requirements and
23   obligations.
24          25.     The Individual Defendants, because of their positions of control and authority as
25   Officers and Directors of the Company, were able to, and did, control the content of the various
26   SEC filings, press releases and other public statements pertaining to the Company during the Class
27   Period. Each Individual Defendant was provided with copies of the documents alleged herein to be
28   misleading before or shortly after their issuance or had the ability or opportunity to prevent their
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 1   issuance or cause them to be corrected. Accordingly, each Individual Defendant is responsible for
 2   the accuracy of the public statements detailed herein and is, therefore, primarily liable for the
 3   representations contained therein.
 4          26.    Each Defendant is liable as a participant in a fraudulent scheme and course of business
 5   that operated as a fraud or deceit on purchasers of Adamas shares by disseminating materially false
 6   and misleading statements and/or concealing material adverse facts.
 7                  DEFENDANTS’ FALSE AND MISLEADING STATEMENTS
 8          27.    Defendants’ false and misleading statements are set within a complicated interplay
 9   between pharmaceutical manufacturers and pharmaceutical payors – health insurers and other
10   managed care entities. These payors seek to minimize their spending on pharmaceuticals in order
11   to lower overall healthcare costs. The primary tool payors use to contain costs is formulary
12   placement. A payor’s formulary is the list of all pharmaceuticals that the payor will provide
13   coverage for. The formulary will also provide patient co-pay amounts depending on the tier the
14   pharmaceutical is placed on. For instance, a generic drug might have a $5 co-pay while a newer
15   brand name drug might have a $50 co-pay.
16          28.    Payors use other cost containment strategies such as Prior Authorization and Step
17   Therapy. In Prior Authorization, the payor will not cover the cost of the drug unless a patient’s
18   doctor first contacts the payor and describes the specific set of conditions that makes the drug
19   therapeutically appropriate. Step Therapy is an even more restrictive version of Prior Authorization
20   where a payor makes a patient try a cheaper therapeutic alternative prior to approving a more
21   expensive drug.
22          29.    As relevant here, once GOCOVRI was approved by the FDA, payors immediately
23   began excluding the drug from their formularies and requiring patients to undergo Step Therapy
24   through immediate-release amantadine prior to authorizing payment for GOCOVRI. Company
25   management, however, hid this highly relevant fact from the market and made misleading
26   statements that Step Therapy was not occurring.
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 1           30.    The Class Period starts on August 8, 2017. On that day, Adamas published a press
 2   release announcing its financial results for the second quarter ended June 30, 2017. The Company
 3   stated in relevant part:
 4                  “This is a very exciting time for Adamas, as we are potentially at the cusp of
            transitioning from a company focused on product development to a commercial
 5          entity marketing its own medicines,” stated Gregory T. Went, Ph.D., Chairman and
            Chief Executive Officer of Adamas Pharmaceuticals, Inc. “We look forward to hearing
 6          from the FDA regarding the potential approval of ADS-5102 for the treatment of
            levodopa-induced dyskinesia in people with Parkinson’s disease. If approved, ADS-
 7          5102 will be the first and only approved medicine for this indication.” The New Drug
            Application for ADS-5102 has a PDUFA date of August 24, 2017.
 8
                    Recent Achievements
 9
                       Presented expanded analysis from the ADS-5102 (amantadine extended
10                      release capsules) open-label study at the 21st International Congress of
                        Parkinson’s Disease and Movement Disorders (MDS) meeting showing
11                      tolerability and durability out to 88 weeks. The new subgroup analyses also
                        showed that patients previously treated with immediate-release
12                      amantadine, who switched directly to ADS-5102, experienced a
                        statistically significant benefit from ADS-5102 comparable to patients not
13                      previously treated with ADS-5102.
14                     Published ADS-5102 Phase 3 EASE LID clinical trial data in JAMA
                        Neurology online. The data demonstrated that ADS-5102 significantly
15                      reduced both dyskinesia and OFF time at six months in Parkinson's
                        disease patients with levodopa-induced dyskinesia.
16

17          31.     This first statement regarding ADS-5102 (GOCOVRI) indications is materially false

18   and misleading because immediate-release amantadine is also “indicated in the treatment of

19   parkinsonism and drug-induced extrapyramidal reactions.”1 Drug-induced extrapyramidal

20   reactions are “commonly referred to as drug-induced movement disorders”2 such as dyskinesia. In

21   other words, immediate release amantadine is approved for the same indication as GOCOVRI,

22   despite the Company’s statements to the contrary. The Defendants knew or should have known

23   that clinicians would not change their prescribing habits without incredibly significant clinical

24   benefits. The Defendants knew or should have known that insurers would place GOCOVRI on a

25

26   1
       See e.g. https://dailymed.nlm.nih.gov/dailymed/getFile.cfm?setid=4157d9a7-a53f-4dde-b051-
     fe3e9a674913&type=pdf&name=4157d9a7-a53f-4dde-b051-fe3e9a674913 (Label for Amantadine IR capsules);
27   https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/016023s041,018101s016lbl.pdf (Label for Amantadine
     IR Syrup).
     2
28     “Extrapyramidal Symptoms (EPS)” Ryan S. D'Souza; W M. Hooten, Mayo Clinic,
     https://www.ncbi.nlm.nih.gov/books/NBK534115/
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 1   disadvantaged formulary tier or exclude it entirely where an effective generic medication exists to
 2   treat the same condition.
 3          32.   That same day, August 8, 2017, Adamas held a quarterly earnings conference call
 4   with investors. During that call CEO Gregory Went stated:
 5         This is a pivotal time here at Adamas, as we are at the cusp of transitioning to a
           commercial entity that delivers its medicines to people in need.
 6

 7          33.   As a result of Defendants’ false and misleading statements, analysts, including at

 8   Cowen and Company, understood that Adamas’s “Commercialization Plans Are Well Under Way”

 9   because “ADS-5102 Is Nicely Differentiated And Addresses An Unmet Need” and believed that

10   the Company was “Nearing A Significant Inflection In Valuation.”

11          34.   Also during the August 8, 2017 call, Chief Operating Officer (“COO”) Richard King

12   answered a question from analyst David Amsellem regarding the likelihood of insurers requiring a

13   step-through of the related generic product prior to accessing GOCOVRI:

14         [Amsellem:] And my question here is what are your thoughts on the extent to which
           payers are going to force patients to step through immediate-release amantadine in
15         order to get access to 5102? Is that something that you’re planning for?
16                                                  ***
17         [King:] We’ve obviously done a fair amount of assessment of ADS-5102 with
           physicians and with payers. The profile for the product, as I mentioned in the
18         comments, resonates extremely well. And they don’t see this profile as really having
           much to do with the amantadine IR profile that they – that’s currently on the
19         marketplace. They recognize that amantadine IR is not approved for this indication.
           And that if ADS-5102 is approved for this indication and with the clinical dataset
20         that is available to support it, that there’s no anticipation of requiring a step-through
           of amantadine IR to get to 5102.
21

22          35.   Upon the approval of GOCOVRI in August 2017, insurers would have begun

23   evaluating whether to cover the drug. One health management company, Centene Corp., issued

24   early guidance. Centene operates health plans that cover over 12 million individuals in 29 states.

25   On October 10, 2017, Centene issued its coverage guidelines, requiring patients to take immediate-

26   release amantadine for two weeks and either fail to resolve symptoms or experience clinically

27   significant adverse effects prior to covering GOCOVRI. This is referred to as “step therapy” or a

28   “step through.”
                                                      8
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 1          36.   On November 2, 2017, Adamas published a press release announcing its financial
 2   results for the third quarter ended September 30, 2017, detailing GOCOVRI’s FDA approval:
 3         Recent Achievements
 4         GOCOVRI™
 5                   Received approval by the U.S. Food and Drug Administration (FDA) for
                      GOCOVRI (amantadine) extended release capsules (previously ADS-
 6                    5102) for treatment of dyskinesia in patients with Parkinson's disease
                      receiving levodopa-based therapy, with or without concomitant
 7                    dopaminergic medications, on August 24, 2017. GOCOVRI is the first and
                      only medicine approved by the FDA for this indication.
 8
                     Earned seven-years of orphan drug exclusivity from the FDA for
 9                    GOCOVRI, which will continue through August 24, 2024.
10
                     Provided access to GOCOVRI for physicians and patients through its
11                    distribution network and GOCOVRI Onboard, Adamas’ patient services
                      support program.
12
                     Hired six regional sales leaders to manage its planned 59 neurology account
13                    specialist sales force.

14                   Published GOCOVRI (ADS-5102) Phase 3 EASE LID 2 open-label clinical
                      trial data in the Journal of Parkinson’s Disease. The data demonstrated
15                    tolerability and durability out to 88 weeks and a subgroup analysis showed
                      that patients previously having undergone Deep Brain Stimulation also
16                    received benefit from ADS-5102.
17                   Published GOCOVRI (ADS-5102) Phase 3 EASE LID 3 clinical trial data
                      in Movement Disorders. The data demonstrated that ADS-5102
18                    significantly reduced both dyskinesia and OFF time at three months in
                      Parkinson’s disease patients with dyskinesia on levodopa-based therapy and
19                    confirmed the results from the EASE LID study, as published in JAMA
                      Neurology, which showed the significant reduction in dyskinesia and OFF
20                    time for 6 months.
21          37.   That same day, November 2, 2017, Adamas held a quarterly earnings conference call
22   with investors. During that call, Went followed up on his previous statements regarding the
23   Company’s commercialization, stating:
24                With the upcoming commercial launch of GOCOVRI, we are fulfilling our
           corporate strategy of building a multi-product company that discovers, develops and
25         commercialize[s] medicines to treat chronic neurologic disorders.

26          38.   During that call COO Richard King also detailed doctors’ extensive use of

27   GOCOVRI, as well as insurers’ support for GOCOVRI, stating in relevant part:

28                [King:] Reacting to this product profile presented in market research,
           physicians reported they would use GOCOVRI and [sic] a little over half of their
                                                     9
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           dyskinesia patients. They specify that they would use it in place of all three of the
 1         satisfactory dyskinesia management strategies that they currently use, as well as in
           patients who are currently not being treated at all for the dyskinesia.
 2                                             ***
 3         [King:] We have also begun outreach to payers and have scheduled clinical
           presentation with seven out of the top 10 payers in the country for later this year. The
 4         payers are particularly interest[ed] in GOCOVRI as a first indication medicine for
           dyskinesia patients who they recognize are in need. We anticipate broad payer
 5         coverage for GOCOVRI. And will grow over the cost [sic] of 2018.
 6              39.   King made this statement despite Centene’s prior coverage guidance.
 7              40.   In January 2018, Prime Therapeutics (“Prime”), a large pharmaceutical benefits
 8   management company aligned with the BlueCross BlueShield networks, issued their coverage
 9   requirements for GOCOVRI.3 Prime covers over 28 million individuals in the United States. Prime
10   required doctors to secure prior authorization and required patients to try immediate-release
11   amantadine before it would cover GOCOVRI.
12              41.   On February 22, 2018, Adamas held a quarterly earnings conference call with
13   investors. During that call, COO Richard King again detailed insurer support for GOCOVRI,
14   stating:
15         As you know, our discussions with payers regarding GOCOVRI are in full swing.
           Clinical presentations have been well received, and these payers are moving forward
16         in their process to determine guidelines for reimbursement. It is important to note
           that even in situations in which payers have not published reimbursement criteria,
17         we are routinely seeing patients receive reimbursement for GOCOVRI. We continue
           to engage payers to streamline the processing of claims for GOCOVRI.
18

19              42.   During that call COO Richard King also discussed the Company’s limited use of free

20   trial programs for GOCOVRI:

21                 GOCOVRI Onboard is working well to process receipt prescriptions, with the
           majority of patients in both commercial and Medicare coverage gaining access to
22         GOCOVRI. We are not providing drug samples, and we do not have a free trial
           program through our specialty pharmacy. We do have a QuickStart Program,
23         whereby qualified patients can receive a free 14-day supply if the benefits verification
           process is taking more than five days. To date, a majority of patients have not utilized
24         this program.

25                 To close. Although it’s very early, we are pleased with the access we are seeing
           in patients and the progress of our launch. We look forward to reporting our first quarter
26         of sales in May.

27   3
      Gocovri™ (amantadine) Prior Authorization with Quantity Limit Program Summary, BlueCross BlueShield of
     Alabama,
28   https://providers.bcbsal.org/portal/documents/10226/299839/Gocovri+%28amantadine%29+Prior+Authorization+wit
     h+Quantity+Limit+Program+Summary/138d633f-c6e0-373e-9b90-465f1ff3c3b4?version=1.0
                                                         10
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 1          43.    Also, during that call, Merriweather detailed the QuickStart program and its
 2   relationship to the aforementioned insurer support for GOCOVRI:
 3                 [Lugo:] For the majority of patients who do not need a QuickStart product, is
           that because the reimbursement is going relatively smooth for them? And can you give
 4         us some kind of defining feature of these patients?”
 5                 [Merriweather:] It is, because it’s going relatively smoothly, and we’re
           getting to a point where we get reimbursement before we need to move towards a
 6         QuickStart. I’m not sure I can give you any more characteristic than that other than,
           there’s no - I can’t say, they’re all commercial. They’re all Medicare. We’re seeing
 7         across all different characteristics of the payer environment, and there’s no particular
           patient environment that I can point you even at this stage.
 8
            44.    Also during that call, Went answered a question from analyst Ken Cacciatore, and in
 9
     doing so further assured investors of insurer support for GOCOVRI, and specifically downplayed
10
     the impact of prior authorization:
11         [Cacciatore:] So can you give us a sense, again, on some of these plans, whether there’s
           been prior authorizations or not, and how we’re dealing with that? And maybe, again,
12         drilling down on some of the discussions on where the coverage actually stands in terms
           of covered lives, if you can give us any sense. . . .
13
           [Went:] Let me deal first with the managed care side of things, Ken. The - I think
14         people do traditionally think very much of coverage or not coverage. And that’s a
           black-and-white situation. What I think is really important to realize is that black-and-
15         white situation, we’re not experiencing that black-and-white situation. We do have
           formal coverage. I’m going to define formal coverage for you here as a situation in
16         which plans have made a decision, a public decision as to how they will handle
           GOCOVRI and manage approval of GOCOVRI prescriptions, when presented. That’s
17         – we’ll call that coverage for the sake of argument. And there are good number of plans
           that have actually made that decision and presented those conclusions publicly and then
18         at handling the GOCOVRI prescriptions according to that pathway.
19                  But we are seeing, across all of the payers that we’ve addressed and dealt
           with, responsiveness, regardless of whether they have published set of criteria or not
20         to manage GOCOVRI. And yes, in some cases, that results in the prior authorization
           request, which then leads to, ultimately, prescription fulfillment. But we’re seeing
21         prescription fulfillment across most every plan. There’s very few that are not
           fulfilling. We have a handful of filed decisions where people are not fulfilling
22         prescriptions. But in general, people are all fulfilling, whether they have a published
           plan or not.
23
            45.    In March 2018, Kaiser Permanente (“Kaiser”), a large west coast health insurer, issued
24
     their coverage requirements for GOCOVRI.4 Kaiser covers over 12 million patients. Kaiser, too,
25
     required step therapy through amantadine immediate release prior to covering GOCOVRI.
26

27
     4
28    "CRITERIA FOR DRUG COVERAGE Amantadine ER (Gocovri TM)" Kaiser Permanente,
     https://healthy.kaiserpermanente.org/static/health/pdfs/formulary/nw/Gocovri.pdf
                                                      11
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 1          46.   On May 3, 2018, Adamas held a quarterly earnings conference call with investors.
 2   During that call COO Richard King again dismissed the impact of prior authorization on insurer
 3   support for GOCOVRI, explaining that only “some” plans call for prior authorization:
 4
                    Today we’ve seen support from payers regarding GOCOVRI prescription
 5         reimbursement, a process which is handled by our GOCOVRI onboard program. The
           significant majority of prescriptions submitted are being reimbursed with less than
 6         2% of prescriptions received to-date ultimately rejected as not covered.

 7                  While specific criteria for coverage may not yet be available and/or may differ
           slightly from plan to plan in the majority of cases and across all peer segments,
 8         coverage is supported if the patient has a diagnosis of Parkinson’s disease dyskinesia
           is consistent with labeling. Some plans also ask the physician to confirm that the
 9         patient has a medical history with amantadine IR.

10          47.    During that call COO Richard King answered a question from analyst David

11   Amsellem, and in doing so further downplayed the impact of prior authorization:

12                [Amsellem:] Can I ask you similar [sic] related question it may be a bit of a
           backward looking question but are you surprised regarding the extent to which you are
13         seeing patient having to be step [sic] through immediate release amantadine. And I
           guess maybe another way of asking this is, as you look to broaden the patient audience
14         and presumably get access to patients who are naïve to amantadine. Does that inform
           in any way your willingness to contract more aggressively?
15
                   [King:] So, let me just try and pickup on the first point you mentioned stepping
16         through IR you mentioned, I’m not aware of any plan that has a hard step for us
           through IR amantadine. I am aware of plans that have – I’m interested as to whether
17         IR amantadine has been tried before in patients and has been shown to be ineffective
           or not well-tolerated, we’ve seen that. But I’m unaware of any plan which is a formal
18         step through IR amantadine.
19          48.   On August 2, 2018, Adamas held a quarterly earnings conference call with investors.

20   During that call COO Richard King answered a question from analyst Josh Schimmer regarding

21   physician trial periods for GOCOVRI and its relevance for supposedly showing positive feedback

22   from GOCOVRI patients:

23                 [Schimmer:] Since the last update, it looks like the number of prescribers of
           GOCOVRI have grown by about 75%. The scrips per prescribers have grown by about
24         20%. So how do you think about those drivers going forward, the ability to sustain kind
           of 30 new prescribers per week? And I think some of your commentary suggested that
25         maybe the growth in prescriptions per prescriber may be slowing just based on the
           delay in getting physicians to hear back from patients. So how effective do you think
26         your efforts will be in at least sustaining this pace of growth of prescriptions per
           prescriber?
27

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 1                  [King:] Certainly. So Josh, the number of prescribers, getting to 1,000
           prescribers within 6 months, I feel, is a significant success. And you’re right, that you
 2         could do the -- the math is about 30 or so per week. Inevitably, that’s going to slow
           down. It has to at some stage. But certainly, I don’t imagine that’s going to stop. It will
 3         just slow down gradually over the course of time. In terms of the prescriptions per
           prescriber, it has increased. But the important thing, as I mentioned on the call, we
 4         still see a number of physicians who are in a trial mode for GOCOVRI. We do think
           that, that largely reflects, that when we present the GOCOVRI data to them, they’re
 5         surprised by the dramatic affects that GOCOVRI has on dyskinesia and OFF and
           ON functional time, particularly in comparison to immediate release amantadine.
 6         And because of this, they decide that they want to prove to themselves, in their own
           hands, that the clinical benefits that we describe for GOCOVRI are as strong as our
 7         Phase III data illustrates. And for that reason, they trial the product. And the good
           news is that the feedback from patients is strong and generally complementary of the
 8         effects that we see in Phase III. And then as physicians move through that trial
           period, they become regular and continuous prescribers of GOCOVRI at that stage.
 9         It’s our challenge to get them through that trial period as quickly as possible. And
           that’s our focus for the second half of the year.
10

11          49.    During that call, COO Richard King also answered a question from analyst Myles

12   Minter, explaining the 3-month cycle for GOCOVRI:

13                [Minter:] Myles Minter on for Tim Lugo. My question is just about more
           granularity, about the time lag that you see with patients that aren’t following up as
14         quickly as you’d like. How long does it take from going away from the doc with a scrip
           to potentially seeing them coming back?
15
                  [King:] So I’ll take that one. It’s variable. But we know that the standard cycle
16         of a patient seeing a physician is a 3-month cycle. So we would also like to see that
           accelerated and get feedback to the physician faster than that 3-month cycle.
17

18          50.    On that same call, in response to a question from analyst Ken Cacciatore, Went

19   detailed the declining use of the QuickStart program, stating:

20                 And with regard to -- just back to Greg. With patients not paying, Ken, we’re
           not -- as Alf commented in his part of the call, the Quick Start, which was used in the
21         beginning, is being used less and less, as patients become familiar and begin to put
           multiple patients onboard, and gain more confidence in GOCOVRI Onboard. And
22         the percentage who are being supported by our patient assistance program is also
           very small.
23

24          51.    During that call, Merriweather answered a question from analyst Josh Schimmer,

25   again detailing insurer support for GOCOVRI:

26                 [Schimmer:] Great. And then last question, maybe you could just discuss the
           status of reimbursement, characterize the ease of access to GOCOVRI, percent of plans
27         with prior auths and as well what you're seeing from IR or sustained IR amantadine
           versions in terms of their positioning on formularies as well.
28
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                   [Merriweather:] So very little on sustained IR. I like that characterization
 1         actually. In terms of our position on formularies, we continue to see current plans
           that have issued now formal guidance on how to process reimbursement for
 2         GOCOVRI. That continues to happen. There are still a number of plans that have
           not published those formal criteria yet. But in the overwhelming majority of cases,
 3         we’re seeing the vast majority of plans give us good support for reimbursement for
           GOCOVRI approval for reimbursement. And they’re processing the prescription
 4         very, very quickly, which is clinging [sic] to us.
 5          52.    On November 1, 2018, Adamas held a quarterly earnings conference call with
 6   investors. During that call Went touted:
 7
           We continue to believe that GOCOVRI is an extremely important drug and that we can
 8         reach 25% to 30% peak penetration in the Parkinson’s disease dyskinesia
           population.
 9          53.    Went answered a question from analyst Serge Belanger, dismissing the impact of the
10   potential competitor drug OSMOLEX:
11
                  [Belanger:] No, no worries. So I just have a question. Do you expect any
12         increase in the formulary coverage starting next year? And do you expect the launch of
           OSMOLEX to affect your future coverage in 2019 and going forward? Thanks.
13
                   [Went:] Thanks for the question. We don’t really expect any change in the
14         formulary coverage. As you know, we’re not a formally covered, but we are
           reimbursed and the majority of prescriptions are we [sic] getting reimbursed in a
15         really good period of time. We have heard a bit about OSMOLEX coming to the
           market. That product has a very different value proposition being once daily in the
16         morning equivalent version of amantadine IR. I think it will be – and it has a separate
           indication, it is supported only by pharmacokinetic data and not by any efficacy data
17         since as you recall the original label for Symmetrel does not contain a significant data
           package to promote to. And so I think it will be largely independent from us in terms
18         of how it ends up being reimbursed and what its challenges will be and whether or
           not it gets folded into something that physicians are encouraged to try as some plans
19         have done with amantadine IR, I think remains to be seen. But again, we are – we’ve
           been facing that market reality since, well before we launched the product and are
20         pleased with how that is playing out right now in terms of any kind of a prior
           attestation of use of amantadine IR.
21          54.    On that same call, Merriweather answered a question from analyst Ken Cacciatore,
22   updating on the Company’s use of the QuickStart program:
23
                    [Merriweather:] Yes, Ken. We’re not wanted to get into sort of the specifics
24         of NRx levels and so on. But what we’re trying to convey was that internal term, we
           use generally consistent. So, really, we’re saying that we’re in that very same range
25         quarter-to-quarter. That was the tone that we were trying to get a general sense that
           you’re trying to convey. With regard to the question was sort of free drug, I think that
26         was the gist of your question. And we continue to see a minority of prescriptions,
           patients coming through the Quick Start program. So, it’s there as part of our armor
27         if you like, but not necessarily, a significant element. It’s not trivial, but it’s certainly
           not significant.
28
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 1          55.    During that same call Went answered a question from analyst Josh Schimmer,
 2   detailing the impact of physicians in trial phase on the Company’s growth, and discussing
 3   GOCOVRI tolerability:
 4
                  [Schimmer:] One more question if I may, it looks like in the third quarter,
 5         you’ve now switched to growth driven, much more extensively by scripts per prescriber
           as opposed to the incremental number of prescribers, which seems to be slowing a little
 6         bit. Maybe as you look at the trends throughout the quarter, you can give us a sense of
           what you expect going forward as the primary driver. And whether this – either of these
 7         growth trajectories are at some kind of a steady state?

 8                 [Went:] Josh, it’s Greg, let me take that on. What we’re seeing in my remarks
           on the call, it really kind of reflects the sort of specialty, subspecialty nature of this
 9         market. We’re getting very, very strong adoption in the movement disorders we’ve
           become adopted in with a greater 5% penetrance in that percentage, which means a
10         relatively high volume prescription there. And then if you look back all the way down
           to the general neurologist, it’s still in a smaller population and in more of a trialing
11         phase.

12                 So with the efforts we’re going to take during the quarter and in next quarter,
           it really is about aligning sales execution and incentives into those movement
13         disorder centers, the simplification of the messaging and then the educating on the
           breadth of patients present there and your other message, which was how to properly
14         dose them, we think is what’s going to drive the business forward. And what that’s
           going to lead to is, we believe greater penetrance in these very large centers and
15         where we have neurologists, who have eligible patients. It’s a smaller practice and
           we look forward to seeing that occur as well. But clearly for the next several quarters,
16         the focus is on the larger centers and deepening the prescribing behavior per
           physician.
17          56.    The statements referenced above in ¶¶27-55 were materially false and misleading
18   when made because specifically, Defendants made materially false and misleading statements about
19   and omitted material information concerning: (1) the tolerability and persistence rates of GOCOVRI
20   as correlated with the number of prescriptions; (2) the breadth of insurer coverage for GOCOVRI
21   prescriptions; and (3) the impact of the Company’s commercialization efforts.
22          57.    In addition, Defendants failed to disclose and omitted: (1) the importance of
23   GOCOVRI’s price on market penetration; (2) that the rapid increase in physicians prescribing
24   GOCOVRI during the Class Period was not due to its efficacy; and (3) that, as a result of the
25   foregoing, the Company’s financial statements and Defendants’ statements about Adamas’s
26   business, operations, and prospects, were materially false and misleading at all relevant times.
27

28
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 1                                     THE TRUTH IS REVEALED
 2          58.   The truth was partially revealed on October 5, 2018, November 1, 2018, and March
 3   4, 2019, and fully disclosed on September 30, 2019.
 4          59.   On October 5, 2018, an analyst at Bank of America/Merrill Lynch downgraded
 5   Adamas, revealing that his survey of doctors showed a higher-than-expected dropout rate for
 6   GOCOVRI due to the high cost and difficulty in securing prior authorizations from payers. Not only
 7   were GOCOVRI dropouts occurring, but doctors may have been looking at other options and the
 8   drug’s value proposition was not fully appreciated so the level of doctors’ excitement was still in
 9   the middle range and it was taking longer than expected to become a “go-to-drug.” Furthermore,
10   there was looming competition from the pending IPO of Osmotica Pharmaceuticals, which planned
11   to launch an extended release formulation of amantadine, branded as OSMOLEX, in direct
12   competition with GOCOVRI.
13          60.   The Bank of America/Merrill Lynch survey cast doubt on GOCOVRI’s ability to
14   achieve a sizable market share, providing:
15                  We conducted doctor checks with active prescribers who treat a total ~l.5k pts
           with Parkinson’s disease (PD), of which ~700 are on generic amantadine IR and ~140
16         are on Gocovri. While this is a subset of total applicable physicians, their views are
17         consistent with previous checks we have conducted this year. While respondents
           recognize the benefits of Gocovri over generic in reducing “off” time, better tolerability
18         and lower pill burden (QD vs 3x a day), they note the hurdles to get patients on Gocovri
           due to cost (WAC [Wholesale Acquisition Cost]: $28.5k vs 2k for IR). The majority
19         cited the need for prior authorization requests, with half noting requirement for
           prior treatment of generic. Doctors expect a moderate increase in Gocovri use in the
20
           next six months . . . . Gocovri is restricted on several formularies in 2019 (Express
21         Scripts, CVS, United, Optum) but we note management in the past has stated to us that
           this is not in their view a deterrent to uptake.
22

23          61.   On this news, Adamas’s stock fell 8% on modestly higher volume in early trading on

24   October 5, 2018 and closed at $17.83 that day.

25          62.   After the markets closed on November 1, 2018, Adamas released its Q3 2018 earnings

26   results, disclosing that the rate of new prescribers was not as robust as expected. Specifically,

27   Adamas informed investors that the Company expected just 2% market penetration by the end of

28   2019, up from the then-expected 1% penetration by the end of 2018. In addition, Defendants failed

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 1   to confirm that the FDA’s approval of OSMOLEX would not impact GOCOVRI’s sales in the long
 2   run.
 3            63.   On this news, Adamas’s stock fell $5.08 per share, or 29.94%, to close at $11.89 per
 4   share on November 2, 2018.
 5            64.   On March 4, 2019, in Adamas’s Q4 2018 conference call with investors, Adamas
 6   walked back its previous growth estimates for GOCOVRI, warned of a continued slow-down in
 7   prescriptions, and refused to make further predictions about GOCOVRI’s ability to achieve a
 8   sizeable market share. In greater part, Defendants Went and Merriweather disclosed:
 9                  [Went:] We believe that advancing prescriber education and positive
             experience of GOCOVRI through these and our other commercial efforts will drive the
10           use of GOCOVRI going forward. We are excited about the potential of these
             approached which are live in the field today. Of course, we are still relatively early in
11           our launch, actively learning, and we expect it to take a few quarters for these improved
             execution efforts to take effect.
12
                    During this time, our results may continue to fluctuate quarter-to-quarter. As we
13           look back on the latter part of 2018, we specifically note a slowing in the rate of total
             prescription growth quarter-to-quarter, which we see continuing into the first part of
14           2019. While seasonal phenomenon maybe playing some role in this, we are focused
             on the improved execution previously mentioned in order to expand GOCOVRI use
15           and adoption in 2019 and beyond.
16                                                           ***
17                  [Merriweather:] Let me know [sic] turn to our outlook for 2019. We expect
             continued total prescription and revenue growth for the year based upon the benefits of
18           GOCOVRI and the commercial initiatives to drive demand that Greg noted. Because
             we’re still very early in the commercialization of GOCOVRI, we’re not providing
19           prescription or revenue guidance in 2019.
20            65.   During this conference call Went disclosed, in relevant part:

21                   [W]e have evolved our Quick Start program into a broader free trial program
             to allow more prescribers and patients to readily experience firsthand the benefits of
22           GOCOVRI. This option will also potentially encourage trial of GOCOVRI in a broader
             array of patient [sic] with dyskinesia consistent with the population in which
23           GOCOVRI was studied.
24            66.   During this conference call, Went answered a question by analyst David Amsellem
25   from Piper Jaffray regarding GOCOVRI prescriptions:
26                   [Amsellem:] Thanks. So, just a clarification question on 2019 and the outlook
             for GOCOVRI, so should I take your comments to mean that you are backing off your
27           prior guidance that prescriptions or share would double? And I guess the second part
             of the question is, I guess, in the absence of guidance, are there any kind of guideposts
28           that you could point us to regarding the trajectory of the product, particularly
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          considering that you had provided certain clear markers regarding expectations last
 1        year? How should we think about that? Thanks.
 2                [Went:] David, thanks for your question. Listen, as we started with the third
          quarter call and reiterated today, our goal right now is to drive growth in TRx through
 3        the strategies I just described. We then implemented a number of these in the last few
          weeks at our National Sales Meeting, as we came off the call and really spend the fourth
 4        quarter developing the materials and the newer tools that we have rolled out to the field.
          So they are now all live in the field.
 5
                  As we look back from the end of last year, as I mentioned on the call, we did
 6        see a slower rate of increase in the TRx, and given that trend in the end of the fourth
          quarter and going into the first quarter, are not going provide [sic] any specific TRx
 7        guidance this year, or revenue guidance. So, we will continue to drive that growth
          through spreading the GOCOVRI message, broadening the GOCOVRI message
 8        around, and it’s typical early -- still in launch, we are really not in a position right now
          to guide quarter-over-quarter for this year.
 9

10         67.   Also during this conference call, Went answered a follow-up question by analyst Tim
11   Lugo from William Blair regarding the growth of GOCOVRI sales:
12                [Lugo:] …. And sequentially should we be expecting growth throughout the
          year in GOCOVRI in terms of just net product sales?
13
                  [Went:] Tim, what we think the current trajectory, which is, it’s just very
14        difficult to model as you know, four quarters into a launch. We are pleased with where
          it is overall. The strategies we are implying right now are specifically intended to
15        drive TRx and adoption into the areas where we are seeing lesser performance. We
          are very enthused by what we are seeing in some really core areas as adoption has
16        occurred both broadly and deeply, but we still need to make progress, and we believe
          the tactics we are laying out are going to allow us to grow. And we will be monitoring
17        it and reporting it to you very carefully as the next couple of quarters proceed.
18         68.   Also during this conference call, Went answered a question by analyst Tazeen Ahman

19   from Bank of America:

20                [Ahmad:] Okay. And then wanted to get your thoughts also on how you’re
          thinking about the overall ramp. So if you’re not giving guidance on specific numbers
21        on script gross, where do you think you can guide us to where the growth could be? Is
          the growth going to come from doctors that have already been prescribing it or are you
22        looking more to growth from new prescribers?

23                [Went:] Great question that kind of ties into Ken’s. Where we’re seeing
          adoption that we’re pleased with in those areas, what we’re seeing is both a breadth of
24        adoption in an area, as well as a dept of adoption, and physicians are continuing to
          prescribe GOCOVRI and we see them deepening that as is common in the launch of a
25        new product. Where we need to be successful with the efforts that we’re laying out
          that we’ve just introduced to the field in the last couple of weeks is in areas where
26        the adoption is not as deep, where the number of experiences the physicians have
          had are not as significant as I'd like to be. And we believe from what we’ve seen that
27        the market is every bit as big as we thought it was, based upon how the top areas are
          performing, but in those areas where we’re not seeing that performance, we really
28        need to get, you know, if you will, the fire started, get that deepening beginning, so
          that physicians and then neighboring physicians can see the impact that GOCOVRI
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           can have both on their reduction in dyskinesia, but their ability to manage these
 1         patients more effectively through the improvements and reduction and OFF time as
           well.
 2
            69.    Also during this conference call, Defendant Went disclosed, in relevant part:
 3
                   [Went:] We see as a proof point, our learning from 2018 that we needed to
 4         better educate prescribers about the appropriate use of GOCOVRI and the
           availability of the 68.5 milligram starting dose for patients with moderate to severe
 5         renal impairment. Many PD patients are elderly and less [thus?] more likely to have
           renal impairment. Such patients not properly dosed on GOCOVRI could have, and
 6         in some cases, have had negative experiences on the medicine with the occurrence
           of adverse events. Accordingly, we armed our field team with specific messages around
 7         appropriate dosing, and added the 68.5 milligram dose as a reduced dosing option on
           our treatment front. We are already seeing a positive impact of this approved education.
 8

 9          70.    Analysts’ reaction to these disclosures reflected their surprise. David Amsellem of
10   Piper Jaffray lowered his price target for Adamas and stated:
11                 With Adamas refining its marketing message on GOCOVRI, in addition to
           starting a sampling program over one year following the launch, it is fair to wonder if
12         management has misread both its physician audience and the payer landscape.
13          71.    Irina Koffler of Mizuho downgraded Adamas to underperform and stated that she

14   believed the launch to be going, “ʻeven worse than we thought.ʼ”

15          72.    In reaction to the disclosures contained in the earnings report and conference call,

16   Cowen analyst Ken Cacciatore downgraded Adamas to perform from outperform, and cut the target

17   price to $15 from $30 on March 5, 2019, stating in a post-earnings research note for investors that:

18                 “Disclosure that Gocovri Rx trajectory is flattening and that growth for the next
           several quarters is expected to be erratic is concerning this early in the launch.
19         Reflecting management’s removal of their previous qualitative guidance – and
           therefore lowering the growth trajectory – our corresponding DCF declines to where a
20         downgrade is warranted.”

21   Cacciatore further stated that, management’s own caution, “ʻnow raises many questions that we

22   simply can’t answerʼ” and “We rarely see a company back away from guidance so quickly.”

23          73.    Needham analyst Serge Belanger downgraded Adamas to hold on March 5, 2019,

24   stating: “ʻ[W]e are heading to the sidelines, downgrading ADMS to a Hold, until we have better

25   visibility that issues can be addressed and Gocovri's launch ramp can re-accelerate.ʼ”

26          74.    Similarly, Bank of America/Merrill Lynch analyst Tazeen Ahmad wrote:

27               [T]he expansion of free drug to 28 day (prev. 14-day) in our view is a signal
           of weak demand consistent with our prior doctor checks which led to our initial
28         round of estimate revisions last fall. Recall, doctors we surveyed reported higher-
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 1         than-expected dropouts with only early signs of appreciation of its time release
           biology. We continue to view Gocovri sales cautiously as: (i) competitor Osmotica
 2         recently initiated full commercial launch of Osmolex (also extended release
           amantadine) which is priced approx. 3x lower than Gocovri ($2.6K vs ~$1K/mo); (ii)
 3         coverage remains scarce with several national formularies excluding Gocovri in
           2019; and (iii) ongoing litigations against Sandoz and Osmotica. In our model, we
 4         update 4Q financials including cash and share count.
 5                 We lower our peak penetration to 15% (prev. 18.5%) and adjust ramp rate in
           LID. We also adjust sales ramp for the follow-on indication in MS given struggling sales
 6
           in lead indication and concerns on whether mgmt will be able to execute commercially.
 7         We now model Gocovri peak sales of $208mn (prev. $258mn) in LID (contributing
           $1/sh in our PO) in 2025. ADMS is expected to report topline results from ongoing ph
 8         3 ADS-4101 study in multiple sclerosis walking impairment (MSWI) in 2H19. We
           reiterate our Neutral rating on ADMS shares with lower PO $10 (prev. $17), but note
 9         failure of the MS indication to advance would lead to meaningful downside to our
           current estimates.
10
            75.   On this news, Adamas’s stock fell $3.99 per share, or 32.84%, to close at $8.16 per
11
     share on March 5, 2019.
12
            76.   A “Seeking Alpha” article posted on March 11, 2019 stated:
13
                   [T]he selling in afterhours coincided with the analyst Q&A session during the
14         company conference call. Analysts appeared to be confused with the company's
           new changes in their commercial plan for GOCOVRI and the company's lack of
15         revenue guidance for 2019. It seemed as if every analyst was asking for some
           clarification on these issues, but the Adamas management answered with vague
16         responses. The management's opposition to offering specifics appeared to
           frustrate the analysts… I started to imagine the analyst downgrades in retaliation to
17         the management's stonewalling.
18                 The numbers did provide me confidence that GOCOVRI is making headway,
           but the vibe from the management had me wondering if they are preparing for a
19         lackluster 2019. It was only a couple of months ago that the company's goal was to
           double its market penetration with GOCOVRI. Now… no targets, benchmarks,
20         or specifics.
21          77.   On March 10th Mizuho analyst Irena Koffler issued a report maintaining the

22   underperform rating and stating: “ʻWe reiterate our Underperform rating and $5 PT after

23   disappointing sequential trends for Gocovri, a topline miss, and delay of a pipeline program.ʼ”

24          78.   On May 27, 2019, a “Seeking Alpha” article reflecting on Adamas’s stock

25   performance was posted stating:

26                 What’s My Verdict? Adamas was Overrated… I have to confess, I feel as if I
           continued to buy into the hype after GOCOVRI approval. I felt as if the company had
27         a product that was destined to be prescribed to a large number of PD patients that were
           starved for a drug like GOCOVRI. Throw in street analysts projecting $75 per share
28         and I feel a bit hoodwinked as ADMS investor. The company has not been able to

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           grab a large piece of their market and hasn’t done a great job admitting their
 1         initial outlook was too optimistic for a patient population that has so many
           challenges. So, I would say ADMS was overrated for the past year and change.
 2

 3          79.   During the next quarters, Adamas focused on securing a follow-on indication for
 4   GOCOVRI for multiple sclerosis with walking impairment (“MSWI”).
 5          80.   During a May 9, 2019 earnings call, CEO Went stated the company had “2 immediate
 6   priorities: GOCOVRI’s launch in Parkinson’s and the MS program.”
 7          81.   On September 27, 2019, the Evaluate Group reported on a preliminary study involving
 8   GOCOVRI for MS and stated:
 9               Gocovri could find it tough to gain market share. Adamas’s initial focus will be
         patients who have discontinued [competitor drug] Ampyra; around half of the patients
10       in Inroads are Ampyra failures. But in order to sell really well, Gocovri will need to
         show markedly better efficacy than Ampyra. In one of its pivotal trials, the Acorda drug
11       improved walking speed by 14% versus 8% with placebo at nine weeks.
12                 The omens are not good: phase II data with Gocovri show a similar 17%
13         improvement in walking speed at four weeks, although the usual caveats about cross-
           trial comparisons apply.
14

15          82.   Finally, on September 30, 2019, Bank of America/Merrill Lynch analyst Tazeen

16   Ahmad lowered its rating for Adamas shares to “Underperform” noting:

17                  We lower our rating for ADMS shares to Underperform with new PO of $5
           (from $9). We make our changes based on our recent doctor checks ahead of ph 3
18         INROADS data in MSWI (see page 3). Key points: (1) While efficacy data of ‘5102 in
           ph 2 is in line with current SoC (Ampyra), doctors are more confident about the safety
19         profile of Ampyra (despite incidence of seizures as a concern) compared to ‘5102.
           Doctors continue to expect Ampyra as an earlier line tx especially with cheaper generic
20
           Ampyra available; (2) although doctors already use amantadine primarily for fatigue,
21         its use in MSWI is of novel idea for doctors and will need time to gain comfort;…

22                We note existing overhangs for ADMS: (1) Gocovri coverage: a number of
           national formularies exclude Gocovri. We expect reimbursement hurdles in
23         MSWI space especially with generic Ampyra launch; (2) ongoing litigations against
           Sandoz and Osmotica; (3) Osmolex launch: (priced approx. 3x lower than Gocovri)
24
           poses competitive risk; and (4) New mgmt team: ADMS will have a new CEO, CFO
25         and CCO, to take over the launch in LID and oversee the pipeline. While we agree
           change in this situation can be good, we also note new CEO Neil McFarlane and CCO
26         Vijay Shreedhar have prev. success, though they will also be on learning curves for the
           time being. A successful new indication or acceleration of LID sales would lead to
27         upside in our ests.
28
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 1          83.    On this news, Adamas shares fell a further 42.83% from $7.05 per share on September
 2   26 to $4.03 by October 3, 2019.
 3          84.    The market for Adamas shares was open, well-developed and efficient at all relevant
 4   times. As a result of the alleged materially false and/or misleading statements, and/or omissions of
 5   material fact alleged herein, Adamas shares traded at artificially inflated prices during the Class
 6   Period. Plaintiff and other members of the Class purchased Adamas shares relying upon the integrity
 7   of the market price of Adamas shares and market information relating to Adamas, and have been
 8   damaged thereby.
 9          85.    During the Class Period, Defendants materially misled the investing public, thereby
10   inflating the price of Adamas shares, by publicly issuing false and misleading statements and
11   omitting to disclose material facts necessary to make Defendants’ statements, as set forth herein,
12   not false and misleading. Said statements and omissions were materially false and misleading in
13   that they failed to disclose material adverse information and misrepresented the truth about the
14   Company, its business and operations, as alleged herein.
15          86.    At all relevant times, the material misrepresentations and omissions particularized in
16   this Complaint directly or proximately caused, or were a substantial contributing cause of, the
17   damages sustained by Plaintiff and other members of the Class. As described herein, during the
18   Class Period, Defendants made or caused to be made a series of materially false or misleading
19   statements about Adamas’s business and operations. These material misstatements and omissions
20   had the cause and effect of creating in the market an unrealistically positive assessment of Adamas,
21   its business and financial prospects, thus causing the Company’s shares to be overvalued and
22   artificially inflated at all relevant times. Defendants’ materially false and misleading statements
23   during the Class Period resulted in Plaintiff and other members of the Class purchasing the
24   Company’s shares at artificially inflated prices, thus causing the damages complained of herein.
25                                         NO SAFE HARBOR
26          87.    The statutory safe harbor provided by the Private Securities Litigation Reform Act of
27   1995 (“PSLRA”) for forward-looking statements under certain circumstances does not apply to any
28   of the materially false and misleading statements alleged in this pleading. First, many of the
                                                     22
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 1   statements alleged to be false and misleading relate to historical facts or existing conditions. Second,
 2   to the extent any of the allegedly false and misleading statements may be characterized as forward-
 3   looking, they were not adequately identified as “forward-looking” statements when made. Third,
 4   any purported forward-looking statements were not accompanied by meaningful cautionary
 5   language because the risks that Defendants warned of had already come to pass.
 6            88.   To the extent any statements alleged to be false and misleading may be construed to
 7   discuss future intent, they are mixed statements of present or historical facts and future intent and
 8   are not entitled to PSLRA safe-harbor protection – at least with respect to the part of the statement
 9   that refers to the present.
10            89.   In addition, the PSLRA imposes an additional burden on oral forward-looking
11   statements, requiring Defendants to include a cautionary statement that the particular oral statement
12   is a forward-looking statement, and that “actual results might differ materially from those projected
13   in the forward-looking statement.” 15 U.S.C. § 78u-5(c)(2)(A)(i)-(ii). Defendants failed to both
14   identify certain oral statements as forward-looking and include the cautionary language required by
15   the PSLRA.
16            90.   Furthermore, Defendants did not accompany their statements with meaningful
17   cautionary language identifying important factors that could cause actual results to differ materially
18   from any results projected. To the extent Defendants included any cautionary language, that
19   language was not meaningful because any potential risks identified by Defendants had already
20   passed or manifested. As detailed herein, Defendants made materially false and/or misleading
21   statements about: (1) the tolerability and persistence rates of GOCOVRI as correlated with the
22   number of prescriptions; (2) the breadth of insurer coverage for GOCOVRI prescriptions; and (3)
23   the impact of the Company’s commercialization efforts. In addition, Defendants failed to disclose:
24   (1) the importance of GOCOVRI’s price on market penetration; (2) that the rapid increase in
25   physicians prescribing GOCOVRI during the Class Period was not due to its efficacy; and (3) that,
26   as a result of the foregoing, the Company’s financial statements and Defendants’ statements about
27   Adamas’s business, operations, and prospects, were materially false and misleading at all relevant
28   times.
                                                       23
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 1          91.    Defendants are also liable for false or misleading statements that may be construed as
 2   forward-looking because at the time each of those purportedly forward-looking statements were
 3   made, the particular speaker knew that the particular statement was false, or by reason of what the
 4   speaker failed to note, was materially false or misleading, or that each such statement was authorized
 5   or approved by an Adamas executive officer who actually knew that each statement was false or
 6   misleading when made.
 7                            ADDITIONAL SCIENTER ALLEGATIONS
 8          92.    As alleged herein, the Individual Defendants acted with scienter in that each knew or
 9   recklessly disregarded that the public documents and statements issued or disseminated in the name
10   of the Company were materially false and misleading; that such statements or documents would be
11   issued or disseminated to the investing public; and knowingly and substantially participated or
12   acquiesced in the issuance or dissemination of such statements or documents as primary violations
13   of the federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by
14   virtue of their receipt of information reflecting the true facts regarding Adamas, their control over,
15   and receipt of modification of Adamas’s allegedly materially misleading misstatements and their
16   associations with the Company which made them privy to confidential proprietary information
17   concerning Adamas, participated in the fraudulent scheme alleged herein.
18          93.    The fraudulent scheme described herein could not have been perpetrated during the
19   Class Period without the knowledge and complicity of, or at least the reckless disregard by,
20   personnel at the highest levels of the Company, including the Individual Defendants. Given their
21   executive level positions with Adamas, the Individual Defendants controlled the contents of
22   Adamas’s public statements during the Class Period. The Individual Defendants were each provided
23   with or had access to the information alleged herein to be false and misleading prior to or shortly
24   after their issuance and had the ability and opportunity to prevent their issuance or cause them to be
25   corrected. Because of their positions and access to material non-public information, the Individual
26   Defendants knew or recklessly disregarded that the adverse facts specified herein had not been
27   disclosed to and were being concealed from the public and that the positive representations that
28   were being made were false and misleading. As a result, the Individual Defendants were responsible
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 1   for the accuracy of Adamas’s corporate statements and are, therefore, responsible and liable for the
 2   representations contained therein.
 3          94.    In addition, Defendants’ scienter is enhanced by the Sarbanes-Oxley mandated
 4   certifications of the Individual Defendants, which acknowledged their responsibility to investors for
 5   establishing and maintaining controls to ensure that material information about Adamas was made
 6   known to them and that the Company’s disclosure-related controls were operating effectively.
 7          95.    The scienter of the Individual Defendants who, as executive officers of the Company,
 8   knew or recklessly ignored facts related to the core operations of Adamas, can be imputed to
 9   Adamas.
10                       APPLICABILITY OF PRESUMPTION OF RELIANCE:
11                              FRAUD-ON-THE-MARKET DOCTRINE
12          96.    At all relevant times, the market for Adamas’s shares was an efficient market for the
13   following reasons, among others:
14                   (a)   Adamas’s shares met the requirements for listing, and was listed and actively
15   traded on the NASDAQ, a highly efficient and automated market;
16                   (b)   Adamas had more than 27 million shares outstanding as of February 24, 2019.
17   During the Class Period, millions of shares of Adamas were traded on a daily basis, demonstrating
18   a very active and broad market for Adamas shares and permitting a very strong presumption of an
19   efficient market;
20                   (c)   Adamas filed periodic public reports with the SEC as a regulated issuer;
21                   (d)   Adamas regularly communicated with public investors via established market
22   communication mechanisms, including regular disseminations of press releases on the national
23   circuits of major newswire services, the internet and other wide-ranging public disclosures, such as
24   communications with the financial press and other similar reporting services;
25                   (e)   Adamas was followed by many securities analysts who wrote reports that were
26   distributed during the Class Period. Each of these reports was publicly available and entered the
27   public marketplace; and
28
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 1                   (f)   unexpected material news about Adamas was rapidly reflected in and
 2   incorporated into the Company’s share price during the Class Period.
 3          97.    As a result of the foregoing, the market for Adamas shares promptly digested current
 4   information regarding Adamas from publicly available sources and reflected such information in
 5   Adamas’s share price. Under these circumstances, all purchasers of Adamas shares during the Class
 6   Period suffered similar injury through their purchase of Adamas shares at artificially inflated prices,
 7   and a presumption of reliance applies.
                                              LOSS CAUSATION
 8

 9          98.    During the Class Period, as detailed herein, Defendants made false and misleading

10   statements, and omitted material information, concerning Adamas’s business fundamentals and

11   financial prospects and engaged in a scheme to deceive the market.

12          99.    By artificially inflating and manipulating Adamas’s share price, the Individual

13   Defendants deceived Plaintiff and the Class and caused them losses when the truth was partially

14   revealed on October 5, 2018, November 1, 2018, and March 4, 2019, and fully disclosed on

15   September 30, 2019.

16          100. As a result of their purchases of Adamas securities during the Class Period, Plaintiff

17   and other members of the Class suffered economic loss, i.e., damages, under the federal securities

18   laws when Adamas’s share price dropped over 8% in early trading on October 5, 2018, over 29%

19   to close at $11.89 on November 2, 2018, over 32% to close at $8.16 on March 5, 2019, and over

20   42% to close at $4.03 on October 3, 2019.

21                                  CLASS ACTION ALLEGATIONS

22          101. This is a class action on behalf of the following:

23         All purchasers of Adamas’s publicly traded securities during the period from August
           8, 2017 and September 30, 2019, inclusive, and who were damaged thereby. The
24         following are excluded from the Class: (a) Defendants; (b) members of Defendants’
           immediate families; (c) any person who was an officer or director of Adamas during
25         the Class Period; (d) any firm, trust, corporation, or other entity in which any Defendant
           has or had a controlling interest; (e) Adamas’s employee retirement and benefit plan(s),
26         if any; and (f) the legal representatives, affiliates, heirs, successors-in-interest, or
           assigns of any such excluded person or entity.
27

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 1           102. The members of the Class are so numerous that joinder of all members is
 2   impracticable. During the Class Period, according to its March 4, 2019 annual report filed with the
 3   SEC, the Company had 27,448,990 shares of Adamas outstanding and actively traded on the
 4   NASDAQ with the ticker symbol “ADMS.” While the exact number of Class members is unknown
 5   to Plaintiff at this time, and such number can only be ascertained through appropriate discovery,
 6   Plaintiff believes that the proposed Class has thousands of members and is widely dispersed
 7   geographically. Record owners and other members of the Class may be identified from records
 8   maintained by Adamas or its transfer agent and may be notified of the pendency of this action by
 9   mail, using a form of notice similar to that customarily used in securities class actions.
10           103. Plaintiff’s claims are typical of the claims of the members of the Class. All members
11   of the Class were similarly affected by Defendants’ allegedly wrongful conduct in violation of the
12   Exchange Act as complained of herein.
13           104. Plaintiff will fairly and adequately protect the interests of the members of the Class.
14   Plaintiff has retained counsel competent and experienced in class and securities litigation.
15           105. Common questions of law and fact exist as to all members of the Class, and
16   predominate over questions solely affecting individual members of the Class. The questions of law
17   and fact common to the Class include, but are not necessarily limited to, the following:
18         Whether Defendants violated the federal securities laws by their acts and omissions alleged
19          herein;
20         Whether the statements Defendants made to the investing public during the Class Period
21          contained material misrepresentations or omitted to state material information;
22         Whether, and to what extent, the market price of Adamas shares was artificially inflated
23          during the Class Period because of the material misstatements alleged herein;
24         Whether Defendants acted with the requisite level of scienter;
25         Whether Defendants Went and Merriweather were controlling persons of Adamas;
26         Whether reliance may be presumed pursuant to the fraud-on-the-market doctrine or the
27          presumption of reliance afforded by Affiliated Ute Citizens of Utah v. United States, 406 U.S.
28          128 (1972), or both; and
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 1         Whether the members of the Class have sustained damages as a result of the conduct
 2          complained of herein, and if so, the proper measure of such damages.
 3           106. A class action is superior to all other available methods for the fair and efficient
 4   adjudication of this controversy because, among other things, joinder of all members of the Class is
 5   impracticable. Furthermore, because the damages suffered by individual Class members may be
 6   relatively small, the expense and burden of individual litigation make it impossible for members of
 7   the Class to individually redress the wrongs done to them. There will be no difficulty in the
 8   management of this action as a class action.
 9                                               COUNT I
                              Violation of Section 10(b) of the Exchange Act
10                               And Rule 10b-5 Against All Defendants

11           107. Plaintiff repeats and realleges the above paragraphs as though fully set forth herein.
12           108. This Count is asserted pursuant to Section 10(b) of the Exchange Act and Rule 10b-5
13   promulgated thereunder by the SEC against all Defendants.
14           109. As alleged herein, throughout the Class Period, Defendants, individually and in
15   concert, directly and indirectly, by the use of the means or instrumentalities of interstate commerce,
16   the mails and/or the facilities of national securities exchanges, made untrue statements of material
17   fact and/or omitted to state material facts necessary to make their statements not misleading and
18   carried out a plan, scheme and course of conduct, in violation of Section 10(b) of the Exchange Act
19   and Rule 10b-5 promulgated thereunder. Defendants intended to and did, as alleged herein, (i)
20   deceive the investing public, including Plaintiff and other members of the Class; (ii) artificially
21   inflate and maintain the prices of Adamas common stock; and (iii) cause Plaintiff and other members
22   of the Class to purchase Adamas shares at artificially inflated prices.
23           110. The Individual Defendants were individually and collectively responsible for making
24   the false and misleading statements and omissions alleged herein and having engaged in a plan,
25   scheme, and course of conduct designed to deceive Plaintiff and other members of the Class, by
26   virtue of having made public statements and prepared, approved, signed, and/or disseminated
27   documents that contained untrue statements of material fact and/or omitted facts necessary to make
28   the statements therein not misleading.
                                                       28
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 1          111. As set forth above, Defendants made their false and misleading statements and
 2   omissions and engaged in the fraudulent activity described herein knowingly and intentionally, or
 3   in such a deliberately reckless manner as to constitute willful deceit and fraud upon Plaintiff and
 4   other members of the Class who purchased Adamas shares during the Class Period.
 5          112. In ignorance of the false and misleading nature of Defendants’ statements and
 6   omissions, and relying directly or indirectly on those statements or upon the integrity of the market
 7   price for Adamas shares, Plaintiff and other members of the Class purchased Adamas shares at
 8   artificially inflated prices during the Class Period. But for the fraud, Plaintiff and other members of
 9   the Class would not have purchased Adamas shares at such artificially inflated prices. As set forth
10   herein, when the true facts were subsequently disclosed, the price of Adamas common stock
11   declined precipitously and Plaintiff and other members of the Class were damaged and harmed as a
12   direct and proximate result of their purchases of Adamas shares at artificially inflated prices and the
13   subsequent decline in the price of that stock when the truth was disclosed.
14          113. By virtue of the foregoing, Defendants are liable to Plaintiff and other members of the
15   Class for violations of Section 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder.
16                                             COUNT II
                             Violation of Section 20(a) of the Exchange Act
17                       Against Individual Defendants Went and Merriweather
18          114. Plaintiff repeats and realleges the above paragraphs as though fully set forth herein.
19          115. This Count is asserted pursuant to Section 20(a) of the Exchange Act against the
20   Individual Defendants.
21          116. The Individual Defendants had control over Adamas and made the material false and
22   misleading statements and omissions on behalf of Adamas within the meaning of Section 20(a) of
23   the Exchange Act as alleged herein. By virtue of their executive positions and share ownership, as
24   alleged above, the Individual Defendants had the power to influence and control and did, directly
25   or indirectly, influence and control the decision-making of the Company, including the content and
26   dissemination of the various statements which Plaintiff contends, were false and misleading. The
27   Individual Defendants were provided with or had unlimited access to the Company’s internal
28   reports, press releases, public filings, and other statements alleged by Plaintiff to be misleading prior
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 1   to or shortly after these statements were issued, and had the ability to prevent the issuance of the
 2   statements or cause them to be corrected.
 3             117. In particular, the Individual Defendants had direct involvement in and responsibility
 4   over the day-to-day operations of the Company and, therefore, are presumed to have had the power
 5   to control or influence the particular transactions giving rise to the securities violations as alleged
 6   herein.
 7             118. By reason of such wrongful conduct, the Individual Defendants are liable pursuant to
 8   Section 20(a) of the Exchange Act. As a direct and proximate result of the Individual Defendants’
 9   wrongful conduct, Plaintiff and other members of the Class suffered damages in connection with
10   their purchases of the Company’s shares during the Class Period.
11                                          PRAYER FOR RELIEF
12         WHEREFORE, Plaintiff prays for judgment as follows:
13         A.        Determining that this action is a proper class action, designating Plaintiff as Lead
14                   Plaintiff and certifying Plaintiff as a class representative under Federal Rule of Civil
15                   Procedure 23 and Plaintiff’s counsel as Lead Counsel;
16         B.        Declaring and determining that Defendants violated Section 10(b) and Rule 10b-5
17                   thereunder of the Exchange Act by reason of the acts and omissions alleged herein;
18         C.        Declaring and determining that Defendants Went and Merriweather violated Section
19                   20(a) of the Exchange Act by reason of the acts and omissions alleged herein;
20         D.        Awarding compensatory damages in favor of Plaintiff and other Class members
21                   against all Defendants, jointly and severally, for all damages sustained as a result of
22                   Defendants’ wrongdoing, in an amount to be proven at trial, including interest
23                   thereon;
24         E.        Awarding Plaintiff and the Class their reasonable costs and expenses incurred in this
25                   action, including attorneys’ fees and expert fees; and
26         F.        Granting all other and further relief as the Court deems just and proper.
27

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 1                                             JURY DEMAND
 2
          Plaintiff demands a trial by jury.
 3

 4

 5   DATED: December 10, 2019                           /s/ Ivy T. Ngo
 6                                                      IVY T. NGO (249860)
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20

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                                   SWORN CERTIFICATION OF PLAINTIFF
                    I, Syed Ali M. Zaidi, hereby certify as follows:

                    1.       I have reviewed the complaint filed against Adamas Pharmaceuticals, Inc.

            (“Adamas”) alleging violations of the federal securities laws, and authorized its filing;

                    2.       I did not purchase the securities of Adamas at the direction of counsel or in order

            to participate in any private action under the federal securities laws;

                    3.       I am willing to serve as a lead plaintiff and representative party in this matter,

            including providing testimony at deposition and trial, if necessary;

                    4.       My transactions in Adamas during the Class Period are reflected in Exhibit A,
            attached hereto;

                    5.       During the three years prior to the date of this Certification, I have not sought to

            serve or served as a lead plaintiff and representative party for a class under the federal securities

            laws;

                    6.       Beyond my pro rata share of any recovery, I will not accept payment for serving as

            a lead plaintiff and representative party on behalf of the Class, except the reimbursement of such

            reasonable costs and expenses (including lost wages) as ordered or approved by the Court

                    I declare under penalty of perjury, under the laws of the United States, that the foregoing
                                            11/29/2019
            is true and correct this _________________________.



                                                             Syed Ali M. Zaidi
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                                                        Exhibit A
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        Transactions in Adamas Pharmaceuticals, Inc. Common Stock (CUSIP: 00548A106)

                     Transaction       Trade Date            Price          Shares           Total

                  Purchase                8/17/2017 $            14.46             750   $   10,844.93
                  Purchase                8/17/2017 $            14.60             100   $    1,460.00
                  Purchase                8/17/2017 $            14.60             100   $    1,460.00
                  Purchase                8/17/2017 $            14.60             100   $    1,460.00
                  Purchase                8/17/2017 $            14.60             100   $    1,460.00
                  Purchase                8/17/2017 $            14.60             100   $    1,460.00
                  Purchase                8/17/2017 $            14.60             100   $    1,460.00
                  Purchase                8/17/2017 $            14.60             100   $    1,460.00
                  Purchase                8/17/2017 $            14.60             100   $    1,460.00
                  Purchase                8/17/2017 $            14.60             100   $    1,460.00
                  Purchase                8/17/2017 $            14.59             100   $    1,459.00
                  Purchase                8/17/2017 $            14.59             800   $   11,672.00
                  Purchase                8/17/2017 $            14.59             200   $    2,918.00
                  Purchase                8/17/2017 $            14.60             100   $    1,460.00
                  Purchase                8/17/2017 $            14.60             100   $    1,460.00
                  Purchase                8/17/2017 $            14.59             100   $    1,459.00
                  Purchase                8/17/2017 $            14.59             100   $    1,459.00
                  Purchase                8/22/2017 $            14.92             400   $    5,968.00
                  Sale                   10/26/2017 $            18.71             100   $    1,871.00
                  Sale                   10/26/2017 $            18.71              50   $      935.50
                  Sale                   10/26/2017 $            18.71           2,650   $   49,581.50
                  Sale                   10/27/2017 $            18.42             750   $   13,815.08
                  Purchase                11/1/2017 $            26.66           1,250   $   33,324.93
                  Purchase                11/2/2017 $            26.80           2,350   $   62,980.00
                  Purchase                12/1/2017 $            36.38             400   $   14,551.00
                  Sale                    12/1/2017 $            33.71             100   $    3,371.00
                  Sale                    12/1/2017 $            33.67             100   $    3,367.00
                  Sale                    12/1/2017 $            33.67             260   $    8,754.20
                  Sale                    12/1/2017 $            33.67             229   $    7,710.43
                  Sale                    12/1/2017 $            33.67           1,661   $   55,925.87
                  Purchase                12/4/2017 $            36.87             100   $    3,687.00
                  Purchase               12/13/2017 $            33.69             200   $    6,738.00
                  Purchase               12/13/2017 $            33.69             800   $   26,952.00
                  Purchase               12/14/2017 $            33.40             100   $    3,340.00
                  Purchase               12/14/2017 $            33.40             100   $    3,340.00
                  Purchase               12/14/2017 $            33.40             100   $    3,340.00
                  Purchase               12/14/2017 $            33.40             500   $   16,700.00
                  Purchase               12/14/2017 $            33.40             100   $    3,340.00
                  Purchase               12/14/2017 $            33.43             250   $    8,357.50
                  Purchase               12/14/2017 $            33.40             200   $    6,680.00
                  Purchase                9/21/2018 $            19.70             900   $   17,730.00
                  Sale                    11/5/2018 $            10.99           5,000   $   54,929.14
                  Purchase                11/7/2018 $            12.44           4,600   $   57,239.82
                  Purchase                11/7/2018 $            12.95           4,000   $   51,790.72
                  Purchase                11/7/2018 $            12.68             240   $    3,043.20
                  Sale                    11/7/2018 $            12.45           4,600   $   57,270.00
                  Sale                    11/8/2018 $            12.93           4,240   $   54,823.20
                  Purchase               11/27/2018 $            10.84             750   $    8,129.92


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        Transactions in Adamas Pharmaceuticals, Inc. Common Stock (CUSIP: 00548A106)

                     Transaction       Trade Date            Price          Shares           Total

                  Sale                   11/27/2018 $            10.64             750   $    7,980.08
                  Purchase               11/28/2018 $            10.19             750   $    7,639.50
                  Sale                   11/28/2018 $             9.75             750   $    7,312.58
                  Purchase               11/30/2018 $             9.94           1,000   $    9,940.00
                  Purchase               11/30/2018 $             9.92           1,000   $    9,920.00
                  Purchase               11/30/2018 $             9.93           1,000   $    9,930.00
                  Purchase               11/30/2018 $            10.03             404   $    4,052.12
                  Purchase                12/3/2018 $            10.43           2,000   $   20,860.00
                  Sale                    12/4/2018 $            10.59           5,000   $   52,965.00
                  Purchase                12/6/2018 $             9.44             605   $    5,711.20
                  Purchase                12/6/2018 $             9.44             604   $    5,701.76
                  Sale                    12/6/2018 $             9.69             404   $    3,914.76
                  Purchase                12/7/2018 $            10.12           2,600   $   26,324.00
                  Sale                    12/7/2018 $             9.85           3,809   $   37,522.65
                  Purchase               12/12/2018 $             9.69             100   $      969.00
                  Purchase               12/13/2018 $             9.65           1,000   $    9,650.00
                  Purchase               12/19/2018 $             8.29           2,000   $   16,580.00
                  Sale                   12/20/2018 $             7.53           3,100   $   23,347.00
                  Purchase                 4/3/2019 $             6.85           7,250   $   49,662.50
                  Sale                    4/18/2019 $             6.25           7,250   $   45,323.54
                  Purchase                5/21/2019 $             5.44           8,000   $   43,520.00
                  Purchase                9/20/2019 $             6.87             900   $    6,183.00




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